UNITED STATES BANKRUPTCY COURT °

DISTRICT OF NEW MEXICO
In re: _ Charles Ronald Morgan,
Donna Kay Morgan, oo
Debtor(s) Case No. -:

- INDIVIDUAL DEBTOR’S OMNIBUS SIGNATURE PAGE AND DECLARATION -
Check only those that apply:

4 . Voluntary Petition for Individuals Filing for Bankruptcy (Form 101): | have examined the

petition, and I declare under penalty of perjury that the information provided is true and correct. If I have

chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13

of title 11, United States Code. I understand the relief available under each chapter, and I choose. to

proceed under Chapter 7. If no attorney represents me and I did not pay or agree to pay someone who is

not an attomey to help me fill out this document, I have obtained and read the notice required by.11

U.S.C. § 342(b). I request relief in accordance with the chapter of title 11, United States Code, specified .
in the petition. 1 understand making a false statement, concealing property, or obtaining money or

property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or

imprisonment for up to.20 years, or both. :

Ci Initial Statement About an Eviction Judgment Against. You (Form 101A): If I intend to stay
in my residence, I certify under penalty of perjury that under the state or other. non- -bankruptcy law that
applies to the judgment for possession (eviction judgment), I have the right to stay in my residence by
paying my. landlord the.entire delinquent amount and.that I have given the bankruptcy court clerk a
deposit for the rent that would be due during the 30 days after I file the Voluntary Petition n for Individuals: .--
Filing for Bankruptcy (Offic cial Form-101).

¥ Declaration About an Individual Debtor’s Schedules (Form 106Dec.): Under penalty of
erjury, I declare that I have read the summary and schedules filed with this declaration and that they are
true and correct.

Statement of Financial Affairs for Individuals Filing for Bankruptcy (Form 107); I have
read the answers on the Statement of Financial Affairs and any attachments, and I declare under penalty
of perjury that the answers are true and correct. I understand making a false statement, concealing
property, or obtaining money or property by fraud in connection with a bankruptcy case can resultin fines
up-to $250,000, or imprisonment for up to 20 years, or both. -

Statement of Intention for Individuals Filing Under Chapter 7 (Form 108): ‘Under penalty of
perjury, I declare that I have indicated my intention about any property of my estate that secures a debt
and any personal property that is subject to an unexpired lease.

Your Statement About Your Social Security Numbers (Form 121):- Under penalty of perjury,
I-declare that the information I have provided i in the form is true and correct.

4 Chapter 7 Statement of Your Current Monthly Income (Form 122A-1), Chapter 7 Means

est Calculation (Form 122A-2); Chapter 11 Statement of Your Current Monthly Income (Form
1228); Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment .
Period (Form 122C-1); or Chapter 13 Calculation of Your Disposable Income (Form, 122C-2):
Under penalty of perjury, T declare. that the information provided on the statement and in any attachments
is true and correct. :

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Executed:on .-

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Signature of Debtor 2 a

Executed on

MM/DD/YY YY

Declaration and signature of authorized. representative of debtor.

OI Thave been: authorized to file the petition on behalf of the debtor. I declare under penalty: of
perjury that the foregoing is true and correct.

Signature of authorized representative

Printed name

Title

Executed on

MM/DD/YYYY

NM LF F902 SY Dec 2017)
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